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                                                          United States District Court     .

Bishoy Abo-Saif,                                          NorthernDistrictof      Itlinop I     I- E D
Plaintiff
                                                                                          MAR O    1 2OI6F
         v.

                                                                                   "EH8UT:,8,8[YE8U,,
John Marshall Law School,
                                                               1:16-cv-2727
Defendant
                                                              Judge John J. Tharp, Jr.
                                          C'M*LATNT           Magistrate Judge Sidney l. Schenkier

   NOW COMES PLAINTIFF BISHOY ABO-SAIF, by and through Bishoy Abo-Saif,
and as his complaint states as follows:

                                 JURISDICTION AND YENUE

    1. This is a Civil Rights complaint for declaratory, injunctive and other appropriate
relief brought by Plaintiffl, Bishoy Abo-Sail appearing pro se. Mr. Abo-Saif brings this
complaint for violations of his individual rights under the Americans with Disabilities
Act of 1990 (ADA), 42 U.S.C. S 12101 et seq and Section 504 of the Rehabilitation Act
of 1973,29 U.S.C. S 794.

   2. This Court    has   jurisdiction pursuant to the following statutes:

    a.   28 U.S.C. S 1331, which gives district courts original jurisdiction over civil
         actions arising under the Constitutions, laws or treaties of the United States;

    b.   28 U.S.C. S 1343 (3) and (4), which gives district courts jurisdiction over actions
         to secure civil rights extended by the United States government.

   3. Venue is appropriate in this judicial district under 28 U.S.C.     S   139I(b) because the
events that gave rise to this Complaint occurred in this district and the parties reside or do
business in this district.

                                            PARTIES

   4. Plaintiff, Bishoy Abo-Saif,     resides in the County of Cook, State of Illinois, which
is in this judicial district.

    5. Defendant, John Marshall Law School, is a public accommodation for the purposes
of the ADA pursuant to 42 U.S.C S 12181(7)(J), provides a program and./or activity
receiving federal financial assistance subject to the Rehabilitation Act,29 U.S.C. $ 794,
and is located in the County of Cook, State of Illinois, which is in this judicial district.
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                              GENERAL ALLEGATIONS

   6. Title III of the ADA, found at 42 U.S.C. S$ 12181-l2l89,prohibits discrimination
against an individual on the basis of disability in a place of public accommodation. A
failure to make reasonable modifications in policies, practices, or procedures, when such
modifications are necessary to afford such goods, services, facilities, privileges,
advantages, or accorlmodations to individuals with disabilities, unless the entity can
demonstrate that making such modifications would fundamentally alter the nature of such
goods, services, facilities, privileges, advantages, or accommodations is discrimination.

   7. No otherwise qualified individual with a disability in the United States, as defined
in section 705(20) of [the Rehabilitation Act], shall, solely by reason of her or his
disability, be excluded from the participation in, be denied the benefits of, or be subjected
to discrimination under any progrilm or activity receiving Federal financial assistance, 29
u.s.c. s794.

   8. Plaintiffisan individual with Cerebral Palsy, a physical disability that substantially
limits one or more of his major life activities and is a person with a disability as defined
by the ADA,42 U.S.C. S 1202 and an otherwise qualified individual with a disability
under the Rehabilitation Act,29 U.S.C. $ 705.

   9. As a result of plaintiff s condition Mr. Abo-Saif has gross and fine motor
impairments resulting in the use of a wheelchair, inability to write and type
independently, and speech impairment.

  10. Mr. Abo-Saif enrolled in the Spring 2014 termas a law student at John Marshall
Law School (JMLS).

   11. Mr. Abo-Saif filed his request for appropriate accommodations, including a
request for a typist, with Melinda Moore, the Disability Accommodations Coordinator
(DAC) in a timely manner. The DAC indicated that, "As far as any midterms and exams
are concerned, we can certainly arange for you to have individual proctors to type for
you."

   12. JMLS failed to provide reasonable and appropriate accommodations and
anonymous grading resulting in Mr. Abo-Saif failing his torts course and being
academically dismissed from JMLS.

                                   COUNT I
                    FAILURE TO PROVIDE TYPIST FOR MIDTERM

   13. Plaintiff incorporates and restates each of the above paragraphs as if fully set forth
herein.

   14. On or about March 1,2014 JMLS deprived Plaintiff of his federal statutory rights
by failing to provide the reasonable and appropriate accommodation of a typist for the
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Plaintiff s torts midterm examination. Mr. Abo-Saif requested the accommodation of             a
typist at the beginning of the term and specifically requested a typist for the midterm.

   15. As a direct and proximate result of JMLS' violation of 42 U.S.C. S 12182 artd29
U.S.C. S 794, Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.

                                         COUNT     II
                  FAILURE TO PROYIDE ALTERNATE QATZZE,S

   16. Plaintiff incorporates and restates each of the above paragraphs as if fully set forth
herein.

    17. Onor about April I and22,2014 JMLS deprived Plaintiff of his federal statutory
rights by failing to provide alternate quizzes in his torts class. Mr. Abo-Saif was unable to
complete the in class quizzes due to his disability and the professor failed to provide
altemate quizzes. Mr. Abo-Saif did not obtain the benefit of the practice provided to the
non-disabled students nor the 5Yo extracredit allotted to the quizzes provided for in the
syllabus.

   18. As a direct and proximate result of JMLS' violation of 42 U.S.C. S 12182 and 29
U.S.C. $ 794, Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.

                           COUNT III
     FAILURE TO PROVIDE NOTETAKER/TYPIST FOR STUDY GROUPS

   19. Plaintiff incorporates and restates each of the above paragraphs as if fully set forth
herein.

   20. JMLS failed to provide the reasonable and appropriate accommodation of a
notetaker/typist to Mr. Abo-Saif for his torts study group. Consequently he was unable to
keep notes regarding the study group conversations and had to rely solely on his memory,
unlike the non-disabled students.

   21. As a direct and proximate result of JMLS' violation of 42 U.S.C. $ 12182 and29
U.S.C. S 794, Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.

                              COUNT IV
           FAILURE TO PROVIDE A TYPIST FOR THE FINAL EXAM

   22. Pluntiff incorporates   and restates each of the above paragraphs as if   fully   set   forth
herein.
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    23. Onor about May 14,2014 JMLS deprived Plaintiff of his federal statutory rights
by failing to provide the reasonable and appropriate accommodation of a typist for the
Plaintiff s torts final examination. Mr. Abo-Saif requested the accommodation of a typist
at the beginning of the term.

   24. As a direct and proximate result of JMLS' violation of 42 U.S.C. $ 12182 and29
U.S.C. S 794, Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.

                            COUNT V
      FAILURE TO PROYIDE ANONYMOUS GRADING OF FINAL EXAM

   25. Plaintiff incorporates and restates each of the above paragraphs    as   if fully   set   forth
herein.

   26. Drc to his disability Plaintiffwas   assigned a dedicated teacher's assistant       (TA)
for his torts course.

   27. Plaintiff was required to put his TA's name on his final exam, which thereby
identified the exam as Plaintiff s and subjecting him to possible bias in grading.

   28. JMLS deprived Plaintiff of his federal statutory rights by failing to provide him the
benefit of anonymous grading that non-disabled students receive.

   29. As a direct and proximate result of JMLS' violation of 42 U.S.C.      S 12182   and29
U.S.C. $ 794, Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.

                            COUNT VI
       ACADEMIC DISMISSAL OF PLAINTIFF DUE TO HIS DISABILITY

   30. Plaintiff incorporates and restates each of the above paragraphs    as   if fully   set   forth
herein.

    31. Due to JMLS's failure to provide reasonable and appropriate accommodation to
Plaintiff, Mr. Abo-Saif received a failing grade in his torts class and was consequently
dismissed from JMLS on academic grounds due to his disability. Therefore, JMLS
deprived Plaintiff of his federal statutory rights when he was dismissed academically due
to receiving a failing grade in torts because of JMLS's failure to provide reasonable and
appropriate accommodation.

   32. As   a direct and proximate result of JMLS' violation of 42 U.S.C. S 12182 and29
U.S.C. 5794,  Plaintiff has sustained injuries of receiving a failing grade in his torts class
and ultimately being academically dismissed from JMLS.
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  WHEREFORE, Plaintiff requests that this Court enter judgment against John Marshall
Law School providing the following relief:

          a)   An order that John Marshall Law School readmit Mr. Abo-Saif placing
               Plaintiffin the position that he would have been in had there been no
               violation of his rights;

          b) An order that John Marshall Law School change Plaintiff s failing grade
               in torts to incomplete or withdrawal;

          c)   An order enjoining John Marshall Law School from further acts of
               discrimination;

          d) An award of costs and reasonable     attomey's fees;

          e) Any and all other remedies    provided pursuant to the ADA and the
               Rehabilitation Act;

          0    Order such other and fi.rther relief as this Court deems appropriate.




Bishoy Abo-Saif
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